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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    NEWARK DIVISION


THE INDEPENDENCE PROJECT, INC., a New
Jersey Non-Profit Corporation, and RONALD
MOORE, Individually,

               Plaintiffs,

vs.                                                        Case No. 2:16-cv-09396

COLONIAL VILLAGE ASSOCIATES, L.L.C., a
New Jersey Limited Liability Company,

            Defendant.
_______________________________________/

                                  NOTICE OF SETTLEMENT

       COMES NOW the Plaintiffs, The Independence Project, Inc., a New Jersey Non-Profit

Corporation, and Ronald Moore, Individually, by and through their undersigned counsel, and

informs the Court that the matter has been amicably settled between the Parties, subject to the final

execution of the settlement documents, and hereby requests:

       1.      The Plaintiffs requests that pursuant to a Court Order, that the case be dismissed

subject to the right of any party to move the Court within sixty (60) days for the purpose of entering

a Joint Stipulation for Dismissal With Prejudice, or, on good cause shown, to re-open the case for

further proceedings.
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                                             2          The Independence Project, Inc., et al.
                                                              v. Colonial Village Associates
                                                                   Case No.: 2:16-cv-09396



                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 13th day of December, 2017, a true and correct copy

of the foregoing was sent via e-mail to counsel for the Defendant, Matthew P. Dolan, Esq.,

MDolan@meyner.com, Meyner and Landis, LLP, One Gateway Center, Suite 2500, Newark, NJ

07102.



                                            /s/ Alan R. Ackerman
                                          Alan R. Ackerman, Esq. (AA9730)
                                          Law Offices of Alan R. Ackerman
                                          1719 Route 10 East, Suite 106
                                          Parsippany, NJ 07054-4519
                                          Telephone: (973) 898-1177 x 122
                                          Facsimile: (973) 898-1230
                                          araesq@alanackermanlaw.com
                                          and
                                          John P. Fuller, Esq., pro hac vice
                                          Fuller, Fuller & Associates, P.A.
                                          12000 Biscayne Boulevard, Suite 502
                                          North Miami, FL 33181
                                          Telephone: (305) 891-5199
                                          Facsimile: (305) 893-9505
                                          jpf@fullerfuller.com
                                          Attorneys for Plaintiff
